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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

    SVITLANA DOE, et al.,

                          Plaintiffs,

                 v.                                    Civil Action No.: 1:25-cv-10495-IT
    KRISTI NOEM, in her official capacity as
    Secretary of Homeland Security, et al.,

                          Defendants.


                      PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE
                        TO FILE SECOND AMENDED COMPLAINT

          Pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, Plaintiffs1 respectfully

move this Court for leave to file a second amended complaint in order to add new parties,

allegations, and claims pertaining to Defendants’2 most recent agency action to terminate parole

processes for Cubans, Haitians, Nicaraguans, and Venezuelans (hereinafter “CHNV parole

processes”). On March 21, 2025, the Department of Homeland Security (“DHS”) publicly

released an unpublished version of a Federal Register Notice entitled “Termination of Parole

Processes: Cubans, Haitians, Nicaraguans, and Venezuelans,” which was subsequently published


1
 As of the filing of Plaintiffs’ first Amended Complaint for Declaratory and Injunctive Relief
(Doc. No. 22) on March 17, 2025, Plaintiffs include Svitlana Doe, Maksym Doe, Maria Doe,
Alejandro Doe, Armando Doe, Ana Doe, Carlos Doe, Omar Doe, Andrea Doe, Sandra
McAnany, Kyle Varner, Wilhen Pierre Victor, Valentin Rosales Tabares, Marim Doe, Adolfo
Gonzalez, Jr., Aleksandra Doe, Teresa Doe, Rosa Doe, and Haitian Bridge Alliance.
2
 Defendants include Kristi Noem, in her official capacity as Secretary of Homeland Security;
Todd M. Lyons, in his official capacity as the Acting Director of Immigration and Customs
Enforcement; Pete R. Flores, in his official capacity as Acting Commissioner of U.S. Customs
and Border Protection; Kika Scott, in her official capacity as the Senior Official Performing the
Duties of the Director of U.S. Citizenship and Immigration Services; and Donald J. Trump, in his
official capacity as President of the United States.

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on March 25, 2025 (the “March 25 FRN”). See Termination of Parole Processes for Cubans,

Haitians, Nicaraguans, and Venezuelans, 90 Fed. Reg. 13611 (Mar. 25, 2025). The March 25

FRN prematurely terminates validly issued grants of parole and work authorization issued under

the CHNV parole processes for all current CHNV parole beneficiaries who are within the United

States with time remaining on their parole. See id. The March 25 FRN also states that DHS will

promptly remove parolees after April 24, 2025. Id. Accordingly, Plaintiffs respectfully request

leave from this Court to amend their First Amended Complaint for Declaratory and Injunctive

Relief (Doc. No. 22) to add new plaintiffs, factual allegations, and claims relating to the March

25 FRN. Plaintiffs are requesting leave to file an amended complaint under the above-captioned

case because many of the current Plaintiffs are or will also be harmed by the March 25 FRN for

substantially the same reasons as the new plaintiffs.

       The basis for Plaintiffs’ Unopposed Motion for Leave to File Second Amended

Complaint are set forth in the present Motion, the Memorandum of Law in Support of Plaintiffs’

Unopposed Motion for Leave to File Second Amended Complaint filed herewith, the Second

Amended Complaint filed herewith, such other evidence and argument as may be submitted on

this Motion, and such other matters of which the Court may take judicial notice.

       WHEREFORE, Plaintiffs respectfully request that the Court enter an order granting

Plaintiffs’ Unopposed Motion for Leave to File Second Amended Complaint.




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Dated: March 26, 2025                              Respectfully submitted,

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                       CERTIFICATE UNDER LOCAL RULE 7.1(a)(2)

         Plaintiffs, through their counsel, conferred with Defendants’ counsel to pursuant to Local

Rule 7.1(a)(2), and Defendants’ counsel provided written confirmation that they would not oppose

Plaintiffs’ motion to file a second amended complaint.

Dated: March 26, 2025

                                               /s/ John A. Freedman
                                                John A. Freedman


                                  CERTIFICATE OF SERVICE

         I, John A. Freedman, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF).

Dated: March 26, 2025

                                               /s/ John A. Freedman
                                               John A. Freedman




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